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D. Victoria Baranetsky SBN #311892

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Attorney for Plaintiffs

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA

HEALTH AND HUMAN SERVICES,

Defendant.

THE CENTER FOR INVESTIGATIVE )
REPORTING and AURA BOGADO, )
_ ) CASE NO.
Plaintiffs, )
AMENDED CERTIFICATION OF
v. ) INTERESTED ENTITIES OR PERSONS
) BY THE CENTER FOR
UNITED STATES DEPARTMENT OF ) INVESTIGATIVE REPORTING
)
)
)
)
)

 

 

Pursuant to Civil Local Rule 3-16, the undersigned certifies that since the date of the

filed complaint, other than the named parties, there is no such interest to report.

NS a

D. Victoria Baranetsky SBN #311892

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DATED: January 27, 2020 By:

Attorney for Plaintiffs

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CERTIFICATION OF INTERESTED ENTITIES

 

 
